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WESTERN DISTRICT OF TEXAS LW, . `3
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UNITED STATES OF AMERICA, CRIMINAL NO. A-04-CR-

AOlr CR 247 LY

I N D I C T M E N T
Violation:

Count 1: 18 USC 1030(21)(5)(A)
(Fraud and Related Activity in

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Plaintiff, )
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Defendant. ) Connection with Computers);
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VI

CHRISTOPHER ANDREW PHILLIPS,

Counts 2 and 3: 18 USC 1029(a)(3)
(Fraud and Related Activities

in Connection with Access Devices);
Count 4: 18 USC 1028(3)(6)

(Fraud and Related Activity in
Connection with Identiflcation
Documents, Authentication Features, and
Information)

THE GRAND JURY CHARGES THAT:
COUNT l
[18 U.S.C. 1030(21)(5)(A)(ii), (B)(i)]
Introduction

l. On or about Fall Semester, 2001, through on or about Spring Semester, 2003,
Defendant, CHRISTOPHER ANDREW PHILLIPS, was a Computer Science major at the
University of Texas at Austin (hereinafter UT).

2. On or about January 30, 2002, the Defendant, CHRISTOPHER ANDREW
PHILLIPS, attempted to breach the security of hundreds of outside computer systems and was
detected by the ITS lnformation Security Oft'rce at UT. The ITS Information Security Offrce at

UT warned the Defendant, CHRISTOPHER ANDREW PHILLIPS, not to further attempt to

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breach the security of these outside computer systems.

3. On or about February 15, 2002, the Defendant, CHRISTOPHER ANDREW
PHILLIPS, attempted to breach the security of hundreds of outside computer systems and Was
detected by the lTS lnformation Security Offlce at UT. The lTS lnformation Security Offlce at
UT warned the Defendant, CHRISTOPHER ANDREW PHILLIPS, not to further attempt to
breach the security of these outside computer systems.

4. On or about April 8, 2002, the Defendant, CHRISTOPHER ANDREW
PHILLIPS, Was again detected by the ITS Information Security Oft`lce at UT While trying to
breach the security of hundreds of outside computer systems The ITS Information Security
foice at UT again warned the Defendant, CHRISTOPHER ANDREW PHILLIPS, not to
further attempt to breach the security of these outside computer systems.

5. From on or about October 2002, to on or about November 2002, the Defendant,
CHRISTOPHER ANDREW PHILLIPS, downloaded biographical data from an Internet Web
site providing genealogical information of individuals born during the years 1940 to 1984
including name, date of birth, gender, father’s name, mother’s maiden name, and county of birth
for the following Texas counties: Bexar, Collin, Dallas, Denton, El Paso, Fort Bend, Harris,
Hidalgo, Tarrant and Travis.

6. On or about January 30, 2003, the Defendant, CHRISTOPHER ANDREW
PHILLIPS, created a computer program to breach the security of, or “hack into,” a protected UT
computer system used for interstate and foreign commerce and communication and for which the
Defendant did not have access in order to discover the names and social security numbers of

individuals in the UT computer system via the TXCLASS web site.

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7. The Defendant, CHRISTOPHER ANDREW PHILLIPS, had no authorization
to access the TXCLASS system.

8. From on or about January 29, 2003, to on or about March 2, 2003, the Defendant,
CHRISTOPHER ANDREW PHILLIPS, used the computer program he created to breach the
security of, or “hack into,” this protected UT computer system via the TXCLASS web site for
which he did not have access and stole over 37,()00 names and social security numbers of
individuals in the UT system.

9. By “hacking” into this protected UT computer system and running the program to
steal the names and social security numbers of individuals in the UT computer system via the
TXCLASS web site, the Defendant, CHRISTOPHER ANDREW PHILLIPS, overloaded the
UT computer system and caused massive failures that shut down the TXCLASS computer
system on three occasions on February 26, 27, and 28, 2003. By the Defendant,
CHRISTOPHER ANDREW PHILLIPS, overloading and damaging the TXCLASS computer
system with his “hacking” program, other UT computer programs related to interstate and
foreign communication and commerce became unaccessible and unusable as well including all
web-based services and all services requiring mainframe identification authentication, such as
admission application submissions, tuition payments, and course registration

10. Due to the Defendant, CHRISTOPHER ANDREW PHILLIPS, breaching the
security of, or “hacking into,” this protected UT computer system, UT suffered losses of
approximately 3122,000, including the cost of responding to the offense and conducting damage
assessments, and another 345,000 in losses incurred by UT to warn individuals whose names and

social security numbers were stolen by the Defendant about potential identity theft.

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l 1. The Defendant, CHRISTOPHER ANDREW PHILLIPS, also possessed on his
computer with intent to defraud more than 15 credit card, bank account, financial aid
information, and Social Security numbers, of multiple individuals who did not give the
Defendant, CHRISTOPHER ANDREW PHILLIPS, permission to have such inforrnation.

12. “TXCLASS” is a web-based service for tracking the training classes that UT
employees attend. The system was intended to be used by UT employees to view a list of classes
he/she attended, or by UT supervisors to review a list of classes for one or more employees The
database is accessed by using the social security number (SSN) of the authorized person(s)
whose training record is to be inspected. Only employees and supervisors were intended to be
authorized to use the system. As UT subsequently leamed, however, access to TXCLASS also
resulted in access through the unified database to a broader range of information than employee
class attendance records, including names, tuition payments, class registration, admission
applications, job titles, campus addresses and phone numbers, and/or e-mail addresses from the
centralized UT database of Electronic Identifier (EID) information pertaining to faculty, staff,
students, former students, and others

13. The “Interriet” is a worldwide network of computer systems operated by
governmental entities, corporations, and universities ln order to access the lntemet, the
individual computer user must subscribe to an access provider, which operates a host computer
system with direct access to the lntemet.

l4. “lnternet Service Providers” (“ISPs”) provide individuals and businesses with
access to the lntemet using telephone or other telecommunications lines; provide lntemet e-mail
accounts that allow users to communicate with other lntemet users by sending and receiving

electronic messages through the ISPs’ servers; remotely store electronic files on their customers’

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behalf; and, may provide other services unique to each particular ISP. ISPs maintain records
pertaining to the individuals or companies that have subscriber accounts with it. Those records
could include identifying and billing infonnation, account access information in the form of log
files, e-mail transaction information (including source and destination e-mail and/or lntemet
Protocol addresses), posting information, account application information, and other information
both in computer data format and in written record format ISPs reserve and/or maintain
computer disk storage space on their computer system for the use of the lntemet service
subscriber for both temporary and long-term storage of electronic communications with other
parties and other types of electronic data and files E-mail that has not been opened is stored
temporarily by an ISP incident to the transmission of the e-mail to the intended recipient, usually
within an area known as the home directory. Such temporary, incidental storage is defined by
statute as “electronic storage,” and the provider of such a service is an “electronic
communications service” provider. A service provider that is available to the public and
provides storage facilities after an electronic communication has been transmitted and opened by
the recipient, or provides other long term storage services to the public for electronic data and
files, is providing a “remote computing service.”

15. A “server” is a centralized computer that provides services for other computers
connected to it via a network. The other computers attached to a server are sometimes called
“clients.” In a large company, it is common for individual employees to have client computers at
their desktops When the employees access their e-mail, or access files stored on the network
itself, those files are pulled electronically from the server, where they are stored, and are sent to
the client’s computer via the network. Notably, server computers can be physically stored in any

location: it is common for a network’s server to be located hundreds (and even thousands) of

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miles away from the client computers In larger networks, it is common for Servers to be
dedicated to a single task. For example, a server that is configured so that its sole task is to
support a World Wide Web site is known simply as a “web server.” An e-mail server allows
users to post and read messages and to communicate via private electronic mail. An “IRC”
(Intemet Relay Chat) server allows users to engage in “chat sessions,” Which are real-time
conversations where the participants communicate by using their keyboards, to send and receive
files, and to share information Using a telephone or other telecommunications line, one can
transmit and receive e-mail or IRC chats between computers

16. The “Intemet Protocol address” (or simply “IP” address) is a unique numeric
address used by computers on the Intemet. An IP address looks like a series of four numbers,
each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to
the lntemet computer must be assigned an IP address so that lntemet traffic sent from and
directed to that computer may be directed properly from its source to its destination Most
lntemet service providers control a range of IP addresses

17. When an ISP or other provider uses “dynamic lP addresses,” the ISP randomly
assigns one of the available IP addresses in the range of IP addresses controlled by the ISP each
time a user dials into the ISP to connect to the Intemet. The customer’s computer retains that IP
address for the duration of that session (i.e., until the user disconnects), and the IP address cannot
be assigned to another user during that period. Once the user disconnects, however, that IP
address becomes available to other customers who dial in at a later time. Thus, an individual
customer’s IP address normally differs each time he dials into the ISP. As such, a specific date

and time is usually necessary to identify a particular user assigned to a particular IP address

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18. A “static IP address” is an IP address that is assigned permanently to a given user
or computer on a network. A customer of an ISP that assigns static IP addresses Will have the
same IP address every time.

19. Via a telephone or other telecommunications line, a computer user can transport a
computer file to his own computer, so that the computer file is stored in his computer. The
process of transporting a file to one’s own computer is called “downloading” The user can then
view the file on his/her computer screen (monitor), and can “save” or retain the file on his/her
computer for an indefinite time period. In addition to permanently storing the file on the
computer, the user may print the file. The original file that was downloaded is also maintained
in the originating computer.

20. Via a telephone or other telecommunications line, a computer user can send a file
from the computer to another individual on the lntemet. This process of sending a file is called
“uploading.” The process of “uploading” is similar to the “downloading” process except the
user is sending the computer file to others instead of retrieving the information from another
computer.

was

From on or about January 29, 2003, to on or about March 4, 2003, in the Westem District

of Texas, and elsewhere, the Defendant,

CHRISTOPHER ANDREW PHILLIPS,
intentionally accessed a protected computer without authorization and recklessly caused damage
to a protected computer, to wit: causing massive failures that shut down the TXCLASS
computer system on three occasions, which also made other UT computer programs also related

to interstate and foreign communication and commerce became unaccessible and unusable as

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well, including all web-based services and all services requiring mainframe identification
authentication, such as admission application submissions, tuition payments, and course
registration, thereby creating a loss to more than one person during a l-year period aggregating at
least $5,000 in value, to wit: a loss of $lZZ,OOO to UT.

In violation of Title 18, United States Code, Section lO30(a)(5)(A)(ii), (B)(i).

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[18 U.s.c. 1029(3)(3)]

The lntroduction of Count l is incorporated by references as if fully set forth.
From on or about January 29, 2003, to on or about March 5, 2003, in the Westem District
of Texas, and elsewhere, the Defendant,
CHRISTOPHER ANDREW PHILLIPS,
knowingly and with the intent to defraud possessed fifteen or more unauthorized access devices,
to wit: 37,000 Social Security numbers stolen from the University of Texas at Austin’s
computers

In violation of Title 18, United States Code, Section 1029(a)(3).

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COUNT3
[18 U.s.C. 1029(a)(3)]

The Introduction of Count l is incorporated by references as if fully set forth.
On or about March 5, 2003, in the Westem District of Texas, and elsewhere, the
Defendant,
CHRISTOPHER ANDREW PHILLIPS,
knowingly and with the intent to defraud possessed fifteen or more unauthorized access devices,
to wit: credit card, bank account, and/or Social Security numbers belonging to multiple people.

In violation of Title 18, United States Code, Section 1029(a)(3).

COUNT 4
[18 U.S.C. 1028(a)(6)]

The Introduction of Count l is incorporated by references as if fully set forth.
From on or about January 29, 2003, to on or about March 5, 2003, in the Westem District
of Texas, and elsewhere, the Defendant,
CHRISTOPHER ANDREW PHILLIPS,
knowingly possessed an identification document and an authentication feature of the United
States, to wit: 37,000 Social Security numbers, which all were stolen knowing that such
document and authentication feature were stolen.

ln violation of Title 18, United States Code, Section 1028(3)(6).

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FOREPERSON OF THE G
JOHNNY SUTTON
United States Attorney

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MARK T. ROOMBERG
Assistant United States Attorney

